
195 Md. 706 (1950)
72 A.2d 684
STATE EX REL. HOLIDAY
v.
SWENSON, WARDEN
[H.C. No. 37, October Term, 1949.]
Court of Appeals of Maryland.
Decided April 12, 1950.
Before MARBURY, C.J., and COLLINS, GRASON, HENDERSON and MARKELL, JJ.
HENDERSON, J., delivered the opinion of the Court.
This is an application for leave to appeal from a refusal of a writ of habeas corpus. This is the third application for appeal by the petitioner. 191 Md. 763, 62 A.2d 573; 190 Md. 732, 59 A.2d 777. He was sentenced on February 26, 1946 to six years for assault with intent to rob, paroled on October 29, 1946, and returned for violation of parole on September 5, 1947. The present petition merely reiterates the allegations found insufficient in the previous applications for appeal.
Application denied, without costs.
